     Case 8:22-cv-01529-FWS-JDE Document 1 Filed 08/16/22 Page 1 of 8 Page ID #:1



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 8                              UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10

11    ANNETTE CODY, individually and on          Case No. 8:22-cv-1529
      behalf of all others similarly situated,
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                   Plaintiff,
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                   v.
14                                               CLASS ACTION COMPLAINT FOR
   PROMISES BEHAVIORAL HEALTH,                   VIOLATION OF PENAL CODE § 631
15 LLC, a Delaware limited liability
   company; and DOES 1 through 25,
16 inclusive,

17                 Defendants.
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                                      CLASS ACTION COMPLAINT
     Case 8:22-cv-01529-FWS-JDE Document 1 Filed 08/16/22 Page 2 of 8 Page ID #:2



 1                                           INTRODUCTION
 2           1.        Plaintiff brings this action individually and on behalf of all other
 3    Californians similarly situated against Defendant for its illegal wiretapping of
 4    electronic       communications     with    Defendant    through    Defendant’s    website,
 5    www.recoveryranchpa.com (the “Website”).
 6           2.        Unbeknownst to visitors to the Website, Defendant has secretly deployed
 7    “keystroke monitoring” software that Defendant uses to surreptitiously intercept,
 8    monitor, and record communications made through the chat feature on the Website.
 9    Defendant neither informs visitors nor obtains their express consent prior to this
10    wiretapping. Defendant then shares the intercepted communications with at least one
11    third party.
12           3.        Defendant has violated the California Invasion of Privacy Act (“CIPA”),
13    California Penal Code § 631, entitling Plaintiff and Class Members to relief.
14                                   JURISDICTION AND VENUE
15           1.        This Court has subject matter jurisdiction of this action pursuant to 28
16    U.S.C. Section 1332 of the Class Action Fairness Act of 2005 because: (i) there are 100
17    or more class members, (ii) there is an aggregate amount in controversy exceeding
18    $5,000,000, exclusive of interest and costs, and (iii) there is at least minimal diversity
19    because at least one Plaintiff and Defendant are citizens of different states.
20           2.        Pursuant to 28 U.S.C. Section 1391, this Court is the proper venue for this
21    action because a substantial part of the events, omissions, and acts giving rise to the
22    claims herein occurred in this District: Plaintiff is a citizen of California who resides in
23    this District and Defendant conducted a substantial portion of the unlawful activity in
24    this District.
25           3.        Defendant is subject to personal jurisdiction in California based upon
26    sufficient minimum contacts which exist between Defendant and California. Defendant
27    also does business with California residents.
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                                                    -2-
                                                 COMPLAINT
     Case 8:22-cv-01529-FWS-JDE Document 1 Filed 08/16/22 Page 3 of 8 Page ID #:3



 1                                             PARTIES
 2          4.      Plaintiff is a citizen of California residing within the Central District of
 3    California.
 4          5.      Defendant is a Delaware Limited Liability Company.
 5          6.      The above-named Defendant, along with its affiliates and agents, are
 6    collectively referred to as “Defendants.”       The true names and capacities of the
 7    Defendants sued herein as DOE DEFENDANTS 1 through 25, inclusive, are currently
 8    unknown to Plaintiff, who therefore sues such Defendants by fictitious names. Each of
 9    the Defendants designated herein as a DOE is legally responsible for the unlawful acts
10    alleged herein. Plaintiff will seek leave of Court to amend the Complaint to reflect the
11    true names and capacities of the DOE Defendants when such identities become known.
12          7.      Plaintiff is informed and believes that at all relevant times, every
13    Defendant was acting as an agent and/or employee of each of the other Defendants and
14    was acting within the course and scope of said agency and/or employment with the full
15    knowledge and consent of each of the other Defendants.
16          8.      Plaintiff is informed and believe that each of the acts and/or omissions
17    complained of herein was made known to, and ratified by, each of the other Defendants.
18                                   FACTUAL ALLEGATIONS
19          9.      Without warning visitors or obtaining their consent, Defendant has secretly
20    deployed wiretapping software on its Website. This software allows Defendant to
21    surreptitiously record visitor interaction through the chat feature on Defendant’s
22    website.
23          10.     Defendant’s actions amount to the digital trifecta of looking over
24    consumers’ shoulders, eavesdropping on their conversations, and reading their journals.
25    Defendant’s conduct is both illegal and offensive: indeed, a recent study conducted by
26    the Electronic Privacy Information Center, a respected thought leader regarding digital
27    privacy, found that: (1) nearly 9 in 10 adults are “very concerned” about data privacy,
28    and (2) 75% of adults are unaware of the extent to which companies gather, store, and

                                                 -3-
                                       CLASS ACTION COMPLAINT
     Case 8:22-cv-01529-FWS-JDE Document 1 Filed 08/16/22 Page 4 of 8 Page ID #:4



 1    exploit their personal data.           See https://archive.epic.org/privacy/survey/ (last
 2    downloaded August 2022).
 3          11.    Within the past year, Plaintiff visited Defendant’s Website and
 4    communicated with a representative of Defendant through the website chat feature.
 5    Given the nature of Defendant’s business, such communications can be sensitive,
 6    private, and often embarrassing.
 7          12.    Unbeknownst to website visitors, Defendant’s chat platform creates and
 8    stores a transcript of every chat conversation using secretly embedded wiretapping
 9    technology. The transcript is an exact copy of every conversation between any website
10    visitor and the Defendant’s agent.
11          13.    Defendant’s chat platform creates a record of every detail of every
12    exchange with every visitor, including the text, visitor’s details, and even time stamps
13    for each message sent by the visitor. The platform has end-to-end features including
14    chat transfer management, invisible chat viewing, and chat history documentation.
15          14.    The record (including the transcript) of every such chat is automatically
16    sent to and shared with a third party for backup and storage purposes. Transcripts are
17    then available to any credentialed user.
18          15.    Defendant did not inform Plaintiff, or any of the Class Members, that
19    Defendant was secretly monitoring, recording, and sharing their communications.
20          16.    Defendant did not obtain Plaintiff’s or the Class Members’ consent to
21    intercepting, monitoring, recording, and sharing the electronic communications with the
22    Website.
23          17.    Plaintiff and Class Members did not know at the time of the
24    communications that Defendant was secretly intercepting, monitoring, recording, and
25    sharing the electronic communications.
26                                   CLASS ALLEGATIONS
27          18.    Plaintiff brings this action individually and on behalf of all others similarly
28    situated (the “Class”) defined as follows:

                                                   -4-
                                         CLASS ACTION COMPLAINT
     Case 8:22-cv-01529-FWS-JDE Document 1 Filed 08/16/22 Page 5 of 8 Page ID #:5



 1          All persons within California who within one year of the filing of this
 2          Complaint: (1) visited Defendant’s website, and (2) whose electronic
 3          communications were intercepted, recorded, monitored, and/or shared
 4          by Defendant without prior express consent.
 5          19.      NUMEROSITY: Plaintiff does not know the number of Class Members
 6    but believes the number to be in the tens of thousands, if not more. The exact identities
 7    of Class Members may be ascertained by the records maintained by Defendant.
 8          20.      COMMONALITY: Common questions of fact and law exist as to all Class
 9    Members, and predominate over any questions affecting only individual members of the
10    Class. Such common legal and factual questions, which do not vary between Class
11    members, and which may be determined without reference to the individual
12    circumstances of any Class Member, include but are not limited to the following:
13                a. Whether Defendant caused Plaintiff’s and the Class’s electronic
14                   communications with the Website to be recorded, intercepted and/or
15                   monitored;
16                b. Whether Defendant violated CIPA based thereon;
17                c. Whether Plaintiff and Class Members are entitled to statutory damages
18                   pursuant to Cal. Penal Code § 631(a);
19                d. Whether Plaintiff and Class Members are entitled to punitive damages
20                   pursuant to Cal. Civil Code § 3294; and
21                e. Whether Plaintiff and Class Members are entitled to injunctive relief.
22          21.      TYPICALITY: As a person who visited Defendant’s Website and had her
23    electronic communications recorded, intercepted and monitored, Plaintiff is asserting
24    claims that are typical to the Class.
25          22.      ADEQUACY: Plaintiff will fairly and adequately protect the interests of
26    the members of The Class. Plaintiff has retained attorneys experienced in the class
27    action litigation. All individuals with interests that are actually or potentially adverse to
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                                                  -5-
                                        CLASS ACTION COMPLAINT
     Case 8:22-cv-01529-FWS-JDE Document 1 Filed 08/16/22 Page 6 of 8 Page ID #:6



 1    or in conflict with the class or whose inclusion would otherwise be improper are
 2    excluded.
 3          23.    SUPERIORITY: A class action is superior to other available methods of
 4    adjudication because individual litigation of the claims of all Class Members is
 5    impracticable and inefficient. Even if every Class Member could afford individual
 6    litigation, the court system could not. It would be unduly burdensome to the courts in
 7    which individual litigation of numerous cases would proceed.
 8                                     CAUSE OF ACTION
 9                     Violations of the California Invasion of Privacy Act
10                                     Cal. Penal Code § 631
11          24.    Section 631(a) of California’s Penal Code prohibits and imposes liability
12    upon any entity that “by means of any machine, instrument, contrivance, or in any other
13    manner,” (1) “intentionally taps, or makes any unauthorized connection, whether
14    physically, electrically, acoustically, inductively, or otherwise, with any telegraph or
15    telephone wire, line, cable, or instrument, including the wire, line, cable, or instrument
16    of any internal telephonic communication system,” or (2) “willfully and without the
17    consent of all parties to the communication, or in any unauthorized manner, reads, or
18    attempts to read, or to learn the contents or meaning of any message, report, or
19    communication while the same is in transit or passing over any wire, line, or cable, or is
20    being sent from, or received at any place within this state” or (3) “uses, or attempts to
21    use, in any manner, or for any purpose, or to communicate in any way, any information
22    so obtained, or who aids, agrees with, employs, or conspires with any person or persons
23    to unlawfully do, or permit, or cause to be done any of the acts or things mentioned
24    above in this section”.
25          25.    Section 631 of the California Penal Code applies to internet
26    communications and thus applies to Plaintiff’s and the Class’s electronic
27    communications with Defendant’s Website. (“Though written in terms of wiretapping,
28    Section 631(a) applies to Internet communications. It makes liable anyone who ‘reads,

                                                -6-
                                      CLASS ACTION COMPLAINT
     Case 8:22-cv-01529-FWS-JDE Document 1 Filed 08/16/22 Page 7 of 8 Page ID #:7



 1    or attempts to read, or to learn the contents’ of a communication ‘without the consent of
 2    all parties to the communication.’ Cal. Penal Code § 631(a).” Javier v. Assurance IQ,
 3    LLC, 21-16351, 2022 WL 1744107, at *1 (9th Cir. May 31, 2022).
 4          26.    The software employed by Defendant on its Website to record Plaintiff’s
 5    and the Class’s electronic communications qualifies as a “machine, instrument,
 6    contrivance, or … other manner” used to engage in the prohibited conduct alleged
 7    herein.
 8          27.    At all relevant times, Defendant intentionally caused the internet
 9    communication between Plaintiff and Class Members with Defendant’s website to be
10    intercepted, recorded, stored, and transmitted to a third party.
11          28.    At all relevant times, Defendant willfully, and without the consent of all
12    parties to the communication, allowed the contents of electronic communications of
13    visitors to its website to be accessed by third parties.
14          29.    Plaintiff and Class Members did not consent to any of Defendant’s actions
15    in implementing wiretaps on its Website, nor did Plaintiff or Class Members consent to
16    Defendant’s intentional access, interception, recording, monitoring, reading, learning
17    and collection of Plaintiff and Class Members’ electronic communications with the
18    Website.
19          30.    Defendant’s conduct constitutes numerous independent and discreet
20    violations of Cal. Penal Code § 631(a), entitling Plaintiff and Class Members to
21    injunctive relief and statutory damages of at least $2,500.00 per violation.
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23                                     PRAYER FOR RELIEF
24    WHEREFORE, Plaintiff prays for the following relief against Defendant:
25                 1.     An order certifying the Class, naming Plaintiff as the representative
26          of the Class and Plaintiff’s attorneys as Class counsel;
27                 2.     An order declaring Defendant’s conduct violates CIPA;
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                                                  -7-
                                        CLASS ACTION COMPLAINT
     Case 8:22-cv-01529-FWS-JDE Document 1 Filed 08/16/22 Page 8 of 8 Page ID #:8



 1                3.     An order of judgment in favor of Plaintiff and the Class and against
 2          Defendant on the cause of action asserted herein;
 3                4.     An order enjoining Defendant’s conduct as alleged herein and any
 4          other injunctive relief that the Court finds proper;
 5                5.     Statutory damages to Plaintiff and the Class pursuant to Cal. Penal
 6          Code § 631(a);
 7                6.     Punitive damages to Plaintiff and the Class pursuant to Cal. Civil
 8          Code § 3294;
 9                7.     Prejudgment interest;
10                8.     Reasonable attorneys’ fees and costs; and
11                9.     All other relief that would be just and proper as a matter of law or
12          equity, as determined by the Court.
13    Dated: August 16, 2022                 PACIFIC TRIAL ATTORNEYS, APC
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15                                           By:
                                             Scott. J. Ferrell
16                                           Attorneys for Plaintiff
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                                       CLASS ACTION COMPLAINT
